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                          EX. 1
               Case:
9/16/21, 8:31 AM        4:21-cv-01130-AGF Doc. #: 1-1   Filed:
                                                  Case.net:      09/16/21
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                  21SL-CC03211 - JANE DOE V KIRKWOOD R-7 SCHOOL DISTRICT ET AL (E-
                                                CASE)

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  09/14/2021           Notice of Service
                       Return of Service - Kirkwood.
                         Filed By: GRANT CHRISTIAN BOYD
                         On Behalf Of: JANE DOE
                       Agent Served
                       Document ID - 21-SMCC-7825; Served To - KIRKWOOD R-7 SCHOOL DISTRICT; Server - ; Served
                       Date - 10-SEP-21; Served Time - 00:00:00; Service Type - Special Process Server; Reason Description
                       - Served

  08/31/2021           Summons Issued-Circuit
                       Document ID: 21-SMCC-7826, for JOHN, COLLIER.Summons Attached in PDF Form for Attorney to
                       Retrieve from Secure Case.Net and Process for Service.
                       Summons Issued-Circuit
                       Document ID: 21-SMCC-7825, for KIRKWOOD R-7 SCHOOL DISTRICT.Summons Attached in PDF
                       Form for Attorney to Retrieve from Secure Case.Net and Process for Service.

  08/25/2021           Motion Granted/Sustained
                       MOTION FOR PLAINTIFF TO PROCEED USING PSEUDONYM JANE DOE - GRANTED. SO
                       ORDERED: JUDGE MARY ELIZABETH OTT

  07/19/2021           Judge/Clerk - Note
                       WHEN PROPOSED ORDER HAS BEEN SIGNED AND SUMMONS ARE NEEDED, PLEASE CALL
                       SUMMONS CLERK, MOLLY, AT (314) 615-8470.

  07/16/2021           Filing Info Sheet eFiling
                           Filed By: GRANT CHRISTIAN BOYD
                       Note to Clerk eFiling
                           Filed By: GRANT CHRISTIAN BOYD
                       Motion Special Process Server
                       Request for Appointment of Special Process Server.
                         Filed By: GRANT CHRISTIAN BOYD
                         On Behalf Of: JANE DOE
                       Proposed Order Filed
                       Proposed Order.
                          Filed By: GRANT CHRISTIAN BOYD
                       Motion Filed
                                                                                                                                  Privacy - Terms
                       Motion for Plaintiff to Proceed Using Pseudonym Jane Doe.
https://www.courts.mo.gov/casenet/cases/searchDockets.do?inputVO.caseNumber=21SL-CC03211&inputVO.courtId=CT21&inputVO.isTicket=false           1/2
               Case:
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                                                 Case.net:      09/16/21
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                                                                        - Docket Entries 3 of 35 PageID #: 6
                          Filed By: GRANT CHRISTIAN BOYD
                       Pet Filed in Circuit Ct
                       Petition.
                          Filed By: GRANT CHRISTIAN BOYD
                       Judge Assigned
                       DIV 1
 Case.net Version 5.14.23                                  Return to Top of Page                                      Released 08/11/2021




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                                                                                21SL-CC03211


                  IN THE CIRCUIT COURT FOR THE COUNTY OF ST. LOUIS
                                  STATE OF MISSOURI

JANE DOE,                                                 )
                                                          )
                                                          )   Case:
         Plaintiff,                                       )
                                                          )
v.                                                        )
                                                          )   JURY TRIAL DEMANDED
JOHN COLLIER, ET AL                                       )
                                                          )
                                                          )
         Defendants.                                      )

        MOTION FOR PLAINTIFF TO PROCEED USING PSEUDONYM JANE DOE


         Comes Now Plaintiff, by and through counsel, and hereby moves this Honorable Court for

permission to proceed using pseudonym of Jane Doe and in support thereof states:

         1. This action relates to matters in which Plaintiff was the victim of numerous crimes

             committed against her, including sexual assaults and abuse.

         2. As the victim of a crime, Plaintiff has a right to her personal information being

             protected pursuant to the Victims Rights Act and provisions of the Missouri

             Constitution.

         3. No party will suffer prejudice by allowing her to proceed as Jane Doe as Defendants

             are well aware of Jane Doe’s actual identity and, to the extent necessary, determine her

             identity through communications with Plaintiff’s Counsel.

         4. Plaintiff should be permitted to proceed under pseudonym Jane Doe throughout this

             litigation, including any and all filings.
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       Wherefore, Plaintiff prays this Honorable Court enter an order allowing her to proceed

under pseudonym Jane Doe and for any further relief this Court deems just and proper.




                                            THE O’BRIEN LAW FIRM, PC

                                            BY: /S/ Grant C. Boyd
                                            Grant C. Boyd #67362
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                                            (314) 588-0634 FAX
                                            boyd@obrienlawfirm.com
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                IN THE CIRCUIT COURT FOR THE COUNTY OF SAINT LOUIS
                                 STATE OF MISSOURI

JANE DOE,                                               )
                                                        )
                                                        )       Case:
         Plaintiff,                                     )
                                                        )
v.                                                      )
                                                        )       JURY TRIAL DEMANDED
JOHN COLLIER, ET AL                                     )
                                                        )
                                                        )
         Defendants.                                    )

                                               ORDER

        Having reviewed Plaintiff’s Motion to Proceed Under Pseudonym Jane Doe, the Court
hereby grants Plaintiff’s Motion. It is hereby ordered that Plaintiff shall proceed under the
pseudonym Jane Doe throughout the litigation of this matter. All parties are hereby ordered to
refer to Plaintiff as either Plaintiff or Jane Doe and shall not refer to Plaintiff by her real name,
including in filings.


SO ORDERED:


________________________________
Honorable Judge of the Circuit Court
Division:

_________________________________
Date
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                                                                              21SL-CC03211

                                 IN THE CIRCUIT COURT
                             TWENTY-FIRST JUDICIAL CIRCUIT
                             COUNTY OF ST. LOUIS, MISSOURI

  JANE DOE,

           Plaintiff,                                          Cause No.
  v.
                                                               Div.
  KIRKWOOD R-7 SCHOOL DISTRICT,
                                                               JURY TRIAL DEMANDED
  &

  JOHN “JACK” COLLIER,

           Defendant.


                                 PETITION FOR DAMAGES

       COMES NOW Plaintiff JANE DOE (“Plaintiff”), by and through her attorneys, and for

her Petition for Damages against Defendant Kirkwood R-7 School District (“Kirkwood”) and

Defendant John “Jack” Collier (“Collier”) states as follows:

       1. This cause of action is related to the sexual abuse, sexual harassment, and/or sexual

           discrimination (referred to hereafter as “abuse”) of Plaintiff in the 1980-1981 academic

           year while she was a minor child and student at Kirkwood. Plaintiff suffered abuse by

           Defendant Collier.

       2. Plaintiff is a resident of the State of Missouri.

       3. Upon information and belief, Defendant Collier was/is a resident of the State of

           Missouri.

       4. Defendant Kirkwood is a public school district organized and existing under the laws

           of the State of Missouri and is located in St. Louis County.




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     5. At all times herein, Kirkwood was/is the recipient of federal financial assistance and

        was engaged in educational programs and activities.

     6. By accepting and receiving federal financial assistance, Kirkwood must comply with

        Title IX of the Education Amendments of 1972 (20 USC 1681-1688) (hereinafter

        referred to as “Title IX”).

     7. Title IX prohibits discrimination based on sex in an educational institution receiving

        federal financial assistance.

     8. Plaintiff was first injured in St. Louis County, Missouri.

     9. Venue and jurisdiction is proper in this Court.

     10. At the time Plaintiff was being abused, Kirkwood employed Collier.

     11. At all times herein, all Kirkwood employees, administrators (i.e., employees with

        administrative authority and/or board of education members with administrative

        authority), and/or board of education members, were acting within the course and scope

        of their employment and were state actors.

     12. At all times relevant hereto, Kirkwood administrators were policy makers and/or

        administrators who had a duty to train, yet failed to train, administrators, employees,

        staff, students, and parents concerning sexual discrimination and harassment against

        students, concerning Title IX, and/or concerning employee-against-student sexual

        misconduct/harassment, and in identifying, investigating, reporting, and stopping

        sexual harassment of students like Plaintiff, including sexual harassment committed

        by employees like Collier.

     13. Kirkwood failed to train administrators, employees, staff, students, and parents

        despite the plainly obvious need for training on, amongst other things, employee-



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        against-student sexual misconduct/harassment and in identifying, investigating,

        reporting, and stopping sexual harassment like that engaged in by Collier.

     14. During the 1980-1981 academic year, Collier became infatuated with Plaintiff and took

        an inappropriate sexual, romantic, and/or intimate interest in Plaintiff.

     15. Collier began a campaign of open and obvious sexual advances, sexual comments,

        stalking, and/or abuse, all of which was directed at Plaintiff.

     16. Collier’s conduct was witnessed in whole or in part by numerous Kirkwood employees,

        including administrators and/or board of education members with the authority to take

        corrective disciplinary action.

     17. Despite being on actual notice of Collier’s abuse of Plaintiff, Kirkwood administrators

        and/or board of education members did nothing to stop Collier’s abuse of Plaintiff and

        were therefore deliberately indifferent.

     18. Eventually, Collier’s abuse of Plaintiff led to him raping, sodomizing, and/or abusing

        Plaintiff.

     19. Prior to Collier’s sodomy and/or rape of Plaintiff, Collier was caught stalking Plaintiff

        by Plaintiff’s mother, including an incident in which Collier showed up to Plaintiff’s

        residence uninvited at nighttime and began throwing small objects at Plaintiff’s

        bedroom window in an effort to lure Plaintiff from the residence.

     20. In response to catching Collier at her and Plaintiff’s residence, Plaintiff’s mother called

        Kirkwood administrators in the days thereafter to inform them of Collier’s

        inappropriate and illegal conduct.

     21. In response to Plaintiff’s mother’s complaint, Kirkwood administrators did not do

        anything to investigate, reprimand, deter, remedy and/or punish Collier’s conduct.



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     22. Shortly thereafter, Plaintiff was sexually abused by Collier on one or more occasions.

     23. Upon discovering the specifics of Collier’s abuse of Plaintiff, Kirkwood employees

        and administrators began openly gossiping, joking, and spreading rumors about

        Plaintiff.

     24. As a result of the conduct being widely spread around the Kirkwood schools by

        Kirkwood employees and administrators, Plaintiff elected to graduate from Kirkwood

        early.

     25. During the college admissions process, Plaintiff went to Kirkwood administrative

        offices at the Kirkwood high school and was confronted by Kirkwood administrator

        Franklin McCallie, who informed Plaintiff that “[she] was the talk of the school,” and

        who then had security and/or administrators escort Plaintiff from the premises/property

        without providing Plaintiff a copy of her transcript.

     26. Despite removing Plaintiff from the premises/property due to Collier’s misconduct,

        upon information and belief, neither McCallie nor any other Kirkwood administrator

        ever requested that Collier be removed from the Kirkwood premises/property nor ever

        punished/sanctioned Collier for his misconduct towards Plaintiff.

     27. Prior to turning twenty-one years of age, the statute of limitations for Plaintiff’s causes

        of action herein were tolled due to Plaintiff’s minority age.

     28. Prior to turning twenty-one years of age, Plaintiff repressed the memories of Collier’s

        abuse and was therefore mentally incapacitated for purposes of the statute of limitations

        for her claims herein.




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     29. Plaintiff recovered the memories of her abuse in or about June or July 2020 when

         numerous victims described the abuse they suffered at Kirkwood in a Facebook group

         for Kirkwood alumni.

     30. Due to Plaintiff’s minority and memory repression, all claims herein are timely filed.

     31. Prior to and during the abuse suffered by Plaintiff, Kirkwood had a policy, practice,

         and/or custom of permitting employees to abuse students.

     32. Prior to and during the abuse suffered by Plaintiff, Kirkwood knowingly allowed,

         condoned, and willfully ignored severe and pervasive abuse of students at the hands of

         Kirkwood employees.

     33. From approximately the 1970s to 2020, Kirkwood had a policy, practice, and/or custom

         of permitting employees to abuse students.

     34. From approximately the 1970s to 2020, Kirkwood knowingly allowed, condoned, and

         willfully ignored severe and pervasive abuse of students at the hands of Kirkwood

         employees.

     35. As a direct and proximate cause of Kirkwood’s conduct, Plaintiff suffered physical pain

         consistent with the abuse, has suffered (and will continue to suffer) emotional distress,

         pain and suffering.

         COUNT I –SEXUAL ASSAULT & BATTERY AGAINST COLLIER
                        UNDER MISSOURI LAW

     36. Plaintiff restates all previous allegations as if fully set forth herein.

     37. Collier’s abuse of Plaintiff was intentional, offensive, unlawful, unjustified, and

         consisted of Collier having offensive physical contact with Plaintiff.

     38. As a direct and proximate cause of Collier’s conduct, Plaintiff suffered physical pain,

         has suffered (and will continue to suffer) emotional distress, pain and suffering.


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       WHEREFORE Plaintiff respectfully requests judgment in her favor and against Defendant

Collier for a fair and reasonable amount in excess of Twenty-Five Thousand Dollars ($25,000.00),

for pre-judgment interest and post-judgment interest, for her costs herein incurred, and for such

other and further relief as the Court deems just and proper under the circumstances.

             COUNT II – VIOLATION OF 42 USC 1983 AGAINST COLLIER

       39. Plaintiff restates all previous allegations as if fully set forth herein.

       40. Collier’s conduct directed towards Plaintiff violated the following federal and

           Constitutional rights of Plaintiff:

               a. Equal Protection Clause of the 14th Amendment to the United States

                   Constitution (right to be free from discrimination based on sex);

               b. Due Process Clause of the 14th Amendment to United States Constitution

                   (right to bodily integrity and bodily liberty); and

               c. 4th Amendment to the United States Constitution (right to be free from

                   unreasonable bodily seizures).

       41. Collier’s conduct towards Plaintiff discriminated against her based upon sex.

       42. Collier’s physical conduct towards Plaintiff violated her right to bodily integrity and

           bodily liberty.

       43. Collier violated Plaintiff’s federal and Constitutional rights when he coerced, enticed,

           and solicited her to send him naked pictures of herself.

       44. Collier’s violations of Plaintiff’s federal and Constitutional rights constituted willful,

           wanton, conscious, and intentional choices by Collier.

       45. Collier’s violations of Plaintiff’s federal and Constitutional rights were done with evil

           motive and malice.



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       46. At the time of Collier’s actions, he was a state actor.

       47. As a direct and proximate cause of Collier’s violations of Plaintiff’s clearly

           established federal and Constitutional rights, Plaintiff suffered injuries including,

           without limitation, emotional distress, psychological trauma, embarrassment, anxiety,

           post-traumatic stress disorder, pain and suffering, and/or physical injuries consistent

           with the abuse.

       48. Pursuant to 42 U.S.C. § 1988, Plaintiff is entitled to an award of attorneys’ fees.

       WHEREFORE Plaintiff respectfully requests judgment in her favor and against Defendant

Collier for a fair and reasonable amount in excess of Twenty-Five Thousand Dollars ($25,000.00),

for pre-judgment interest and post-judgment interest, for her attorneys’ fees, for her costs herein

incurred, and for such other and further relief as the Court deems just and proper under the

circumstances.

                 COUNT III – VIOLATION OF TITLE IX AGAINST KIRKWOOD

       49. Plaintiff incorporates all preceding paragraphs into this Count by reference as though

           fully stated herein.

       50. Plaintiff had federal civil rights secured by federal statute, namely Title IX of the

           Education Amendments of 1972, which provides in pertinent part that “[N]o person . .

           . shall, on the basis of sex, be excluded from participation in, be denied the benefits

           of, or be subjected to discrimination under any education program or activity

           receiving Federal financial assistance.”

       51. Title IX was intended to benefit students like Plaintiff and intended to benefit

           Plaintiff.




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     52. Title IX provides Plaintiff, and students like Plaintiff, clear federal civil rights, which

        are not amorphous or vague, to be free from known sexual discrimination at school.

     53. Title IX imposes binding mandatory obligations on schools like Kirkwood that are

        recipients of federal funding which prohibits them from discriminating against

        students on the basis of sex.

     54. Prior to the abuse of Plaintiff, Kirkwood had actual knowledge of Collier’s sexual

        harassment of female students.

     55. In the 1980-81 academic year, Plaintiff suffered repeated sexual harassment by

        Collier, which is considered sexual discrimination prohibited by Title IX.

     56. The Kirkwood employees, board members, and administrators with actual knowledge

        and/or notice had the authority and ability to investigate and take meaningful

        corrective action to end or prevent the harassment perpetrated upon female students,

        including Plaintiff, by Collier, but failed to do so.

     57. Kirkwood’s failures to investigate or take any corrective action, despite prior

        harassment and ongoing harassment by Collier, were clearly unreasonable in light of

        the known circumstances.

     58. Through their actions and inaction, Kirkwood was deliberately indifferent to the

        sexual harassment, assault, and violence that Plaintiff suffered at Kirkwood, and

        proximately caused injury to Plaintiff

     59. Through their actions and inaction, Kirkwood created a climate in which sexual

        harassment and misconduct was tolerated, thus encouraging Collier’s repeated

        harassment and misconduct, including his actions against Plaintiff, and proximately

        caused injury to Plaintiff



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     60. As a result of Kirkwood’s deliberate indifference, Plaintiff was subjected to

        additional sexual harassment by Collier.

     61. Kirkwood’s deliberate indifference was a conscious choice.

     62. The sexual harassment inflicted upon Plaintiff was severe, pervasive, objectively

        offensive, and effectively barred Plaintiff access to education opportunities and

        benefits.

     63. The sexual harassment Collier inflicted upon female students and Plaintiff, along with

        Kirkwood’s refusal to investigate or take appropriate action (in response to evidence,

        reports, and complaints of Collier’s harassment) to stop Collier from being able to

        harass Plaintiff effectively barred Plaintiff from access to educational opportunities,

        benefits, and activities. Plaintiff suffered severe damages, walked the halls of

        Kirkwood schools embarrassed and suffering from severe mental health issues,

        became alienated socially, and suffered from post-traumatic stress disorder, including

        when at Kirkwood schools.

     64. By their actions and inaction, Kirkwood acted with deliberate indifference toward the

        rights of female students and Plaintiff to have a safe and secure education

        environment, thus materially impairing Plaintiff’s ability to pursue her education at

        Kirkwood schools in violation of the requirements of Title IX.

     65. Specifically, Kirkwood violated Title IX by, inter alia:

            a. Choosing to take no action to protect Plaintiff, despite the knowledge of a

                need to supervise, discipline, or take other correction action to prevent

                Collier’s harassment of female students, including Plaintiff, and also failing to

                warn Plaintiff of the risk of abuse;



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           b. Choosing to take no action against Collier to discipline or increase supervision

              of him;

           c. Ignoring evidence, complaints, and reports regarding Collier’s sexual

              harassment of female students and Plaintiff, and being deliberately indifferent

              thereto;

           d. Failing to conduct their own investigations into reports, complaints, and

              evidence that Collier was sexually harassing female students prior to and

              during his harassment of Plaintiff and failing to conduct their own

              investigation into reports, complaints, and evidence that Collier was

              continuously sexually harassing Plaintiff;

           e. Requiring Plaintiff to fend for herself and attempt to protect herself from

              Collier’s harassment with no assistance from Kirkwood;

           f. Protecting and advocating for Collier, despite multiple reports of Collier’s

              sexually harassing female students prior to and during the period he harassed

              Plaintiff;

           g. Creating a climate that tolerated sexual harassment and other sexual

              misconduct, and that tolerated the complete disregard for reports, evidence,

              and complaints of sexual harassment/misconduct by employees, including

              Collier, and being deliberately indifferent thereto;

           h. Failing to develop or adopt policies and procedures to properly address

              complaints, reports, or evidence of employee-against-student sexual

              harassment, assault, misconduct, and violence;




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            i. Failing to adopt policies regarding prompt and equitable grievance procedures

                and investigation of reports, complaints, or evidence of employee-against-

                student sexual harassment, assault, misconduct, and violence;

            j. Failing to provide policies, procedures, or training for Kirkwood

                administrators, employees, students, and students’ parents about sexual

                harassment and misconduct;

            k. Failing to terminate or otherwise discipline Kirkwood’s employees, including

                Collier, for their willful disregard to Plaintiff’s safety and rights, and being

                deliberately indifferent thereto;

            l. Failing to provide, offer, recommend, or coordinate adequate health,

                psychological, counseling, and academic assistance and services to Plaintiff

                after she was repeatedly sexually harassed by Collier, and being deliberately

                indifferent thereto;

            m. By retaliating against Plaintiff for being the victim of sexual abuse and

                forcibly removing her from the Kirkwood high school; and

            n. Through other actions, inaction, and deliberate indifference.

     66. As a direct and proximate cause of Kirkwood’s action, inaction, and deliberate

        indifference, Plaintiff sustained injuries for which she is entitled to be compensated,

        including but not limited to:

            a. Psychological pain, suffering, and impairment;

            b. Impaired educational capacity;

            c. Attorneys’ fees and costs; and

            d. Such other and further relief as this Court deems just and proper.



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       WHEREFORE Plaintiff respectfully request judgment in his favor and against Defendant

for a fair and reasonable amount in excess of Twenty-Five Thousand Dollars ($25,000.00), for

pre-judgment interest and post-judgment interest, for her attorneys’ fees, for her costs herein

incurred, and for such other and further relief as the Court deems just and proper under the

circumstances.

           COUNT IV – VIOLATION OF 42 USC 1983 AGAINST KIRKWOOD

       67. Plaintiff restates all previous allegations as if fully set forth herein.

       68. Prior to the abuse of Plaintiff and/or during the abuse period in which Plaintiff was

           abused, Kirkwood was on prior actual notice that Collier and/or other Kirkwood

           employees were abusing and harassing students and violating students’ constitutional

           due process right to bodily integrity and liberty, constitutional right to be free from

           discrimination based on sex, and constitutional right to be free from unreasonable

           seizures.

       69. Despite prior actual notice, Kirkwood was deliberately indifferent to the rights of its

           students, including Plaintiff, and failed to take proper remedial action to cease the abuse

           of its students.

       70. Kirkwood’s failure to act and process of turning a “blind eye” to the abuse of students

           demonstrated Kirkwood’s policy, practice, pattern, and/or custom of allowing

           employees to sexually abuse and prey upon students.

       71. Kirkwood failed to act upon reports of abuse of students.

       72. Kirkwood failed to act upon evidence of abuse of students.

       73. Kirkwood failed to investigate reports and/or evidence of abuse of students.




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       74. Kirkwood failed to adequately train its employees regarding abuse of students,

           including abuse of students by employees.

       75. Kirkwood failed to take any remedial action in response to evidence, complaints,

           incidents, and/or reports of abuse of students.

       76. Kirkwood’s conduct amounts to deliberate indifference to the federal and

           Constitutional rights of Plaintiff and other students.

       77. As a direct and proximate cause of Kirkwood’s conduct (including Kirkwood’s

           deliberate indifference, policies/practices/customs, and/or inadequate training),

           Plaintiff suffered emotional distress, pain and suffering, medical expenses, physical

           injuries consistent with the sexual abuse, and she will continue to incur future damages

           as stated herein.

       78. Plaintiff is entitled to an award of her reasonable attorneys’ fees as a matter of law.

       WHEREFORE, Plaintiff prays for this Court to enter judgment in her favor and against

Defendant Kirkwood for a fair and reasonable amount of damages in excess of $25,000.00, for her

costs associated with pursuing this action, for pre-judgment interest and post-judgment interest as

allowed by law, for her attorneys’ fees, for her costs incurred herein, and for any further relief this

Court deems just and proper.




                                      PLAINTIFF DEMANDS TRIAL BY JURY




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                              THE O’BRIEN LAW FIRM, PC


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                                    Attorneys for Plaintiff




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                                                                                                21SL-CC03211
In the
CIRCUIT COURT                                                                                 ┌                               ┐
                                                                                                      For File Stamp Only
Of St. Louis County, Missouri
                                                       July 16, 2021
                                                      _________________________
__________________________________________
 Jane Doe                                             Date
Plaintiff/Petitioner
                                                      _________________________
                                                      Case Number
vs.
                                                      _________________________
 Kirkwood R-7 School District, et al.
__________________________________________            Division

                                                                                              └                               ┘
Defendant/Respondent




                       REQUEST FOR APPOINTMENT OF PROCESS SERVER
        Comes now _______________________________________________________,
                   Plaintiff                                               pursuant
                                            Requesting Party
        to Local Rule 28, and at his/her/its own risk requests the appointment of the Circuit Clerk of
        ___________________________________________________________________________
         John Frederick, Cody Terry, Rebecca Montle  PO Box St. Louis, MO 63127           314-966-5585
        Name of Process Server                      Address                                                       Telephone

        ___________________________________________________________________________
         Luke Prewitt, Dave Roberts, Robert Montle "                       "
        Name of Process Server                      Address or in the Alternative                                 Telephone

        ___________________________________________________________________________
         Jessica Frederick, Chistopher Ruhland "                           "
        Name of Process Server                      Address or in the Alternative                                 Telephone

        Natural person(s) of lawful age to serve the summons and petition in this cause on the below
        named parties. This appointment as special process server does not include the authorization
        to carry a concealed weapon in the performance thereof.

        SERVE:                                                    SERVE:
         Kirkwood R-7 School District
        ____________________________________________               John "Jack" Collier
                                                                  ____________________________________________
        Name                                                      Name
         11289 Manchester Road
        ____________________________________________               11289 Manchester Road
                                                                  ____________________________________________
        Address                                                   Address
         Kirkwood, MO 63122
        ____________________________________________               Kirkwood, MO 63122
                                                                  ____________________________________________
        City/State/Zip                                            City/State/Zip

        SERVE:                                                    SERVE:
        ____________________________________________              ____________________________________________
        Name                                                      Name
        ____________________________________________              ____________________________________________
        Address                                                   Address
        ____________________________________________              ____________________________________________
        City/State/Zip                                            City/State/Zip

        Appointed as requested:
        JOAN M. GILMER, Circuit Clerk                              /s/ Grant C. Boyd
                                                                  ___________________________________________
                                                                  Signature of Attorney/Plaintiff/Petitioner
                                                                   67362
                                                                  ___________________________________________
        By ________________________________________
               /s/Molly Thal                                      Bar No.
            Deputy Clerk                                           815 Geyer Avenue, St. Louis, MO 63104
                                                                  ___________________________________________
                                                                  Address
               08/31/2021
        ___________________________________________               ___________________________________________
                                                                   (314) 588-0558                    (314) 588-0634
        Date                                                      Phone No.                                     Fax No.



        CCADM62-WS         Rev. 08/16
                                                                                     Electronically Filed - St Louis County - July 16, 2021 - 03:07 PM
   Case: 4:21-cv-01130-AGF Doc. #: 1-1 Filed: 09/16/21 Page: 22 of 35 PageID #: 25


Local Rule 28. SPECIAL PROCESS SERVERS

      (1) Any Judge may appoint a Special Process Server in writing in
accordance with the law and at the risk and expense of the requesting party except
no special process server shall be appointed to serve a garnishment [except as
allowed by Missouri Supreme Court Rule 90.03(a)].

            This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

      (2) The Circuit Clerk may appoint a natural person other than the Sheriff to
serve process in any cause in accordance with this subsection;

             (A)    Appointments may list more than one server as alternates.

           (B) The appointment of a person other than the Sheriff to serve
process shall be made at the risk and expense of the requesting party.

            (C) Any person of lawful age, other than the Sheriff, appointed to
serve process shall be a natural person and not a corporation or other business
association.

            (D) No person, other than the Sheriff, shall be appointed to serve any
order, writ or other process which requires any levy, seizure, sequestration,
garnishment, [except as allowed by Missouri Supreme Court Rule 90.03(a)], or
other taking.

            (E) Requests for appointment of a person other than the Sheriff to
serve process shall be made on a “Request for Appointment of Process Server”
electronic form, which may be found on the Court’s Web Site,
http://www.stlouisco.com. (LawandPublicSafety/Circuit/Forms).

            (F) This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

             SERVICE RETURN

            Any service by the St. Louis County Sheriff’s Office shall be scanned
into the courts case management system. Any service by another Sheriff or a
Special Process Server or any other person authorized to serve process shall
return to the attorney or party who sought service and the attorney shall file the
return electronically to the Circuit Clerk.


CCADM62-WS    Rev. 08/16
                                                                                                                                  Electronically Filed - St Louis County - July 16, 2021 - 03:07 PM
              Case: 4:21-cv-01130-AGF Doc. #: 1-1 Filed: 09/16/21 Page: 23 of 35 PageID #: 26
                                                                                                21SL-CC03211
In the
CIRCUIT COURT                                                                                 ┌                               ┐
                                                                                                      For File Stamp Only
Of St. Louis County, Missouri
                                                       July 16, 2021
                                                      _________________________
__________________________________________
 Jane Doe                                             Date
Plaintiff/Petitioner
                                                      _________________________
                                                      Case Number
vs.
                                                      _________________________
 Kirkwood R-7 School District, et al.
__________________________________________            Division

                                                                                              └                               ┘
Defendant/Respondent




                       REQUEST FOR APPOINTMENT OF PROCESS SERVER
        Comes now _______________________________________________________,
                   Plaintiff                                               pursuant
                                            Requesting Party
        to Local Rule 28, and at his/her/its own risk requests the appointment of the Circuit Clerk of
        ___________________________________________________________________________
         John Frederick, Cody Terry, Rebecca Montle  PO Box St. Louis, MO 63127           314-966-5585
        Name of Process Server                      Address                                                       Telephone

        ___________________________________________________________________________
         Luke Prewitt, Dave Roberts, Robert Montle "                       "
        Name of Process Server                      Address or in the Alternative                                 Telephone

        ___________________________________________________________________________
         Jessica Frederick, Chistopher Ruhland "                           "
        Name of Process Server                      Address or in the Alternative                                 Telephone

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        SERVE:                                                    SERVE:
         Kirkwood R-7 School District
        ____________________________________________               John "Jack" Collier
                                                                  ____________________________________________
        Name                                                      Name
         11289 Manchester Road
        ____________________________________________               11289 Manchester Road
                                                                  ____________________________________________
        Address                                                   Address
         Kirkwood, MO 63122
        ____________________________________________               Kirkwood, MO 63122
                                                                  ____________________________________________
        City/State/Zip                                            City/State/Zip

        SERVE:                                                    SERVE:
        ____________________________________________              ____________________________________________
        Name                                                      Name
        ____________________________________________              ____________________________________________
        Address                                                   Address
        ____________________________________________              ____________________________________________
        City/State/Zip                                            City/State/Zip

        Appointed as requested:
        JOAN M. GILMER, Circuit Clerk                              /s/ Grant C. Boyd
                                                                  ___________________________________________
                                                                  Signature of Attorney/Plaintiff/Petitioner
                                                                   67362
                                                                  ___________________________________________
        By ________________________________________               Bar No.
            Deputy Clerk                                           815 Geyer Avenue, St. Louis, MO 63104
                                                                  ___________________________________________
                                                                  Address
        ___________________________________________               ___________________________________________
                                                                   (314) 588-0558                    (314) 588-0634
        Date                                                      Phone No.                                     Fax No.



        CCADM62-WS         Rev. 08/16
                                                                                     Electronically Filed - St Louis County - July 16, 2021 - 03:07 PM
   Case: 4:21-cv-01130-AGF Doc. #: 1-1 Filed: 09/16/21 Page: 24 of 35 PageID #: 27


Local Rule 28. SPECIAL PROCESS SERVERS

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serve process shall be a natural person and not a corporation or other business
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electronic form, which may be found on the Court’s Web Site,
http://www.stlouisco.com. (LawandPublicSafety/Circuit/Forms).

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authorization to carry a concealed weapon in the performance thereof.

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into the courts case management system. Any service by another Sheriff or a
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return electronically to the Circuit Clerk.


CCADM62-WS    Rev. 08/16
                                                                                                      Electronically Filed - St Louis County - July 16, 2021 - 03:07 PM
Case: 4:21-cv-01130-AGF Doc. #: 1-1 Filed: 09/16/21 Page: 25 of 35 PageID #: 28
                                                                               21SL-CC03211


                IN THE CIRCUIT COURT FOR THE COUNTY OF ST. LOUIS
                                STATE OF MISSOURI

JANE DOE,                                               )
                                                        )
                                                        )   Case:
       Plaintiff,                                       )
                                                        )
v.                                                      )
                                                        )   JURY TRIAL DEMANDED
JOHN COLLIER, ET AL                                     )                    FILED
                                                        )                August 25, 2021
                                                                           02/12/16
                                                        )                JOAN M. GILMER
                                                                          CIRCUIT CLERK
       Defendants.                                      )            ST. LOUIS COUNTY, MO

     MOTION FOR PLAINTIFF TO PROCEED USING PSEUDONYM JANE DOE


       Comes Now Plaintiff, by and through counsel, and hereby moves this Honorable Court for

permission to proceed using pseudonym of Jane Doe and in support thereof states:

       1. This action relates to matters in which Plaintiff was the victim of numerous crimes

           committed against her, including sexual assaults and abuse.

       2. As the victim of a crime, Plaintiff has a right to her personal information being

           protected pursuant to the Victims Rights Act and provisions of the Missouri

           Constitution.

       3. No party will suffer prejudice by allowing her to proceed as Jane Doe as Defendants

           are well aware of Jane Doe’s actual identity and, to the extent necessary, determine her

           identity through communications with Plaintiff’s Counsel.

       4. Plaintiff should be permitted to proceed under pseudonym Jane Doe throughout this

           litigation, including any and all filings.
                                                                                                Electronically Filed - St Louis County - July 16, 2021 - 03:07 PM
Case: 4:21-cv-01130-AGF Doc. #: 1-1 Filed: 09/16/21 Page: 26 of 35 PageID #: 29




       Wherefore, Plaintiff prays this Honorable Court enter an order allowing her to proceed

under pseudonym Jane Doe and for any further relief this Court deems just and proper.




                                            THE O’BRIEN LAW FIRM, PC

                                            BY: /S/ Grant C. Boyd
                                            Grant C. Boyd #67362
                                            815 Geyer Ave
                                            St. Louis, MO 63104
                                            (314) 588-0558
                                            (314) 588-0634 FAX
                                            boyd@obrienlawfirm.com




                                             August 25, 2021
            Case: 4:21-cv-01130-AGF Doc. #: 1-1 Filed: 09/16/21 Page: 27 of 35 PageID #: 30

              IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 21SL-CC03211
 BRIAN H MAY
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 JANE DOE                                                       GRANT CHRISTIAN BOYD
                                                                815 GEYER AVENUE
                                                          vs.   ST LOUIS, MO 63104
 Defendant/Respondent:                                          Court Address:
 KIRKWOOD R-7 SCHOOL DISTRICT                                   ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Pers Injury-Other                                           CLAYTON, MO 63105                                                    (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: JOHN COLLIER
                                      Alias:
  11289 MANCHESTER ROAD
  KIRKWOOD, MO 63122


        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        31-AUG-2021                                           ______________________________________________
                                         Date                                                                      Clerk
                                       Further Information:
                                       MT
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
           permanently resides with the Defendant/Respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________            _____________________________________________
                                                                         Date                                        Notary Public
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.

OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 21-SMCC-7826        1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
            Case: 4:21-cv-01130-AGF Doc. #: 1-1 Filed: 09/16/21 Page: 28 of 35 PageID #: 31
                        THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


CCADM73



OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 21-SMCC-7826   2   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
           Case: 4:21-cv-01130-AGF Doc. #: 1-1 Filed: 09/16/21 Page: 29 of 35 PageID #: 32
   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




CCADM73




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 21-SMCC-7826   3   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
         Case: 4:21-cv-01130-AGF Doc. #: 1-1 Filed: 09/16/21 Page: 30 of 35 PageID #: 33




               County Satellite Court Now Open in St. Ann
               Hours: Mon-Fri 8:30 a.m. to 5:00 p.m. FREE PARKING

For the convenience of North County residents, a satellite branch of the St. Louis County Circuit
Court is now open at the St. Louis County Government Center Northwest at the 715 Northwest Plaza
Drive in St. Ann.
Attending Court Hearings Remotely using E-Courts
If you are scheduled to appear in court, you can access the courtroom remotely using the public
computer stations (E-courts) in St. Ann and Clayton. These are available for use when courtroom
access is restricted due to the pandemic.
Please note: Hearings for juvenile and paternity cases are confidential, and can only be accessed
from the Clayton E-court at this time.

Be sure to bring your paperwork with you; you will need your case number, as well as the date,
time and number of the Division where you are scheduled to appear.

Filing Pleadings/New Petitions
If you are representing yourself, you may file your paperwork at the St. Ann satellite court, in
addition to the Clayton courthouse, using the secure drop box located inside the Court reception area.
Filing Orders of Protection
Starting March 1, you may file for an Order of Protection at the Adult Abuse office in the St. Ann
satellite court, in addition to the Clayton courthouse. Clerks will be available on-site to help you fill
out and file the necessary paperwork.

                            For more information call: 314-615-8029
            Case: 4:21-cv-01130-AGF Doc. #: 1-1 Filed: 09/16/21 Page: 31 of 35 PageID #: 34

              IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 21SL-CC03211
 BRIAN H MAY
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 JANE DOE                                                       GRANT CHRISTIAN BOYD
                                                                815 GEYER AVENUE
                                                          vs.   ST LOUIS, MO 63104
 Defendant/Respondent:                                          Court Address:
 KIRKWOOD R-7 SCHOOL DISTRICT                                   ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Pers Injury-Other                                           CLAYTON, MO 63105                                                    (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: KIRKWOOD R-7 SCHOOL DISTRICT
                                      Alias:
  11289 MANCHESTER ROAD
  KIRKWOOD, MO 63122


        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        31-AUG-2021                                           ______________________________________________
                                         Date                                                                      Clerk
                                       Further Information:
                                       MT
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
           permanently resides with the Defendant/Respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________            _____________________________________________
                                                                         Date                                        Notary Public
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.

OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 21-SMCC-7825        1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
            Case: 4:21-cv-01130-AGF Doc. #: 1-1 Filed: 09/16/21 Page: 32 of 35 PageID #: 35
                        THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



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inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

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    You may decide to use an alternative dispute resolution procedure if the other parties to your case
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parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


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                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
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   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
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               County Satellite Court Now Open in St. Ann
               Hours: Mon-Fri 8:30 a.m. to 5:00 p.m. FREE PARKING

For the convenience of North County residents, a satellite branch of the St. Louis County Circuit
Court is now open at the St. Louis County Government Center Northwest at the 715 Northwest Plaza
Drive in St. Ann.
Attending Court Hearings Remotely using E-Courts
If you are scheduled to appear in court, you can access the courtroom remotely using the public
computer stations (E-courts) in St. Ann and Clayton. These are available for use when courtroom
access is restricted due to the pandemic.
Please note: Hearings for juvenile and paternity cases are confidential, and can only be accessed
from the Clayton E-court at this time.

Be sure to bring your paperwork with you; you will need your case number, as well as the date,
time and number of the Division where you are scheduled to appear.

Filing Pleadings/New Petitions
If you are representing yourself, you may file your paperwork at the St. Ann satellite court, in
addition to the Clayton courthouse, using the secure drop box located inside the Court reception area.
Filing Orders of Protection
Starting March 1, you may file for an Order of Protection at the Adult Abuse office in the St. Ann
satellite court, in addition to the Clayton courthouse. Clerks will be available on-site to help you fill
out and file the necessary paperwork.

                            For more information call: 314-615-8029
                                                                                  Electronically Filed - St Louis County - September 14, 2021 - 03:04 PM
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